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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 10-20613-CR-MOORE/SIMONTON

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  YUNIER PEREZ CRUZ,

        Defendant.
  ______________________________/

                       ORDER MAINTAINING THE STATUS QUO RE: BOND

          Presently pending before the Court is the Government’s Motion to Stay Bond

  Pending the Outcome of the Government’s Appeal From Magistrate’s Order Setting Bond

  (DE # 91). This matter is referred to the undersigned Magistrate Judge by the Honorable

  K. Michael Moore, United States District Judge (DE # 40).1 For the reasons stated below,

  the Motion is granted, in part, to the extent that the Court will maintain the status quo

  and Defendant will not be permitted to post bond until the disposition of the Motion to

  Stay.

          I.      BACKGROUND

          Defendant Yunier Perez Cruz and 11 co-defendants are charged in an Eight-Count

  Indictment with committing various narcotics trafficking offenses between September

  2006 and October 2006 (DE # 1). Specifically, Defendant Perez Cruz is charged with

  conspiracy to import cocaine and heroin, in violation of 21 U.S.C. § 963 (Count 1);

  importation of cocaine and/or heroin (Counts 2, 3, and 4), in violation of 21 U.S.C. §


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            Due to lack of clarity in the Local Rules regarding whether a Motion to Stay a
  bond should be handled in the first instance by the Magistrate Judge who set the bond
  after a contested hearing, as opposed to the paired Magistrate Judge pursuant to a
  general order of reference for pretrial proceedings, the undersigned conferred with
  Judge O’Sullivan, and he deferred to the undersigned Magistrate Judge.
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  952(a); conspiracy to possess with intent to distribute cocaine and heroin, in violation of

  21 U.S.C. § 846 (Count 5); possession with intent to distribute cocaine, in violation of 21

  U.S.C. § 841(a)(1) (Counts 6 and 7); and attempted possession with intent to distribute

  cocaine and heroin, in violation of 21 U.S.C. § 846 (Count 8). Based upon the quantity of

  drugs alleged in the Indictment, each of these offenses carries a mandatory minimum

  sentence of ten years’ incarceration and a maximum potential sentence of life

  imprisonment.

         II.    THE DETENTION HEARING

         A review of the docket sheet in this case reveals that pursuant to the Bail Reform

  Act, 18 U.S.C. § 3142(f), on August 24, 2010, a hearing was held to determine whether

  Defendant Yunior Perez Cruz should be detained prior to trial. The docket sheet and

  minutes of the proceedings do not reflect whether the government sought detention

  based on risk of flight or danger to the community, or both. However, pursuant to 18

  U.S.C. § 3142(e), there is a rebuttable presumption that no condition or combination of

  conditions will reasonably assure the appearance of the Defendant as required and the

  safety of the community.

         At the conclusion of the detention hearing, the Honorable John J. O’Sullivan,

  United States Magistrate Judge, denied the Government’s request for pretrial detention,

  and set the following conditions of release: (1) A $100,000.00 personal surety bond co-

  signed by the Defendant’s daughter, son-in-law, girlfriend, and three additional friends;

  (2) Surrender all travel documents; (3) Report to Pretrial Services as directed; (4)

  Maintain or seek full-time employment; (4) No contact with witnesses or co-defendants;

  (5) No possession of firearms; (6) May not visit commercial transportation

  establishments; (7) Travel limited to Miami-Dade County; (8) Curfew between 6:00 p.m.


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  and 5:00 a.m., with electronic monitoring; and (9) Maintain his present residence. In

  addition, the minutes reflect that the Defendant was not to be released until a land line

  which could be used for electronic monitoring was installed at his residence.

          The Government stated its intention to appeal, and Judge O’Sullivan stayed the

  Defendant’s release on bond through 12:00 Noon on August 25, 2010. The record does

  not reflect whether a longer stay was sought at that time.

          III.   THE GOVERNMENT’S APPEAL AND MOTION TO STAY

          The Government filed its Notice of Appeal on August 24, 2010, the same day as

  the detention hearing (DE # 89). Also on that date, the Government filed the instant

  Motion to Stay (DE # 91). The Government states that it has ordered a transcript of the

  Detention hearing in accordance with Local Magistrate Rule 4(a)(2).

          To date, no transcript has been filed, and neither the Notice of Appeal nor the

  Motion to Stay includes any facts or legal analysis. Therefore, the undersigned

  Magistrate Judge has somewhat limited information to determine whether a stay is

  appropriate. However, the Indictment establishes probable cause to believe that the

  Defendant committed the offenses, the Defendant is facing a significant period of

  incarceration if convicted, and there is a statutory presumption of detention. In addition,

  the undersigned has access to the pretrial services report which describes the

  Defendant’s background and criminal history.

          Based upon a review of the limited information presently available, the

  undersigned has determined that it is appropriate to grant a further, limited stay of the

  Defendant’s release until the undersigned has an opportunity to review the transcript of

  the detention hearing, and receive a Memorandum of Law in support of the request for a

  Stay.


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         Therefore, it is hereby

         ORDERED AND ADJUDGED that the Motion to Stay (DE # 91) is granted, in

  part, to the extent that the Court will maintain the status quo and Defendant will not be

  permitted to post bond until the disposition of the Motion to Stay. It is further

         ORDERED AND ADJUDGED that the Government shall file a Memorandum of

  Law to support its Motion to Stay by 12:00 Noon on Friday, August 27, 2010.

         DONE AND ORDERED at Miami, Florida, on August 26, 2010.




                                            ____________________________________
                                            ANDREA M. SIMONTON
                                            UNITED STATES MAGISTRATE JUDGE

  Copies via CM/ECF to:
  The Honorable K. Michael Moore, United States District Judge
  Counsel of Record
  Pretrial Services




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